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 5

 6 Attorney for Defendant
   SONIA KIM
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           2:15-CR-0015 TLN

12                                Plaintiff,             STIPULATION TO AMEND CONDITIONS OF
                                                         RELEASE RE SONIA KIM AND ORDER
13                          v.

14   SONIA KIM, ET AL.,

15                                Defendants.

16

17          Plaintiff United States of America, by and through its counsel of record, and defendant Sonia

18 Kim, by and through her counsel of record, with the approval of Pretrial Services, hereby stipulate that

19 her conditions of release may be amended as follows:

20          You shall remain inside your residence every day from 7:00 pm to 7:00 am, or as adjusted by

21 the pretrial services officer for medical, religious services, employment, education, treatment, (to

22 include Narcotics Anonymous and Alcoholics Anonymous meetings), or court-ordered obligations.

23          IT IS SO STIPULATED.

24 Dated: September 2, 2015                               BENJAMIN B. WAGNER
                                                          United Sates Attorney
25
                                                          /s/ PAUL A. HEMESATH
26                                                        PAUL A. HEMESATH
                                                          Assistant United States Attorney
27

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      STIPULATION TO AMEND CONDITIONS OF RELEASE
                                                         1
      RE SONIA KIM AND [PROPOSED] ORDER
             Case 2:15-cr-00015-TLN Document 80 Filed 09/03/15 Page 2 of 2


 1 Dated: March 5, 2014                             /s/ DAVID W. DRATMAN__________________
                                                    DAVID W. DRATMAN
 2                                                  Attorney for Defendant
                                                    SONIA KIM
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 4                                                ORDER

 5        IT IS SO ORDERED.

 6 Dated: September 3, 2015

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     STIPULATION TO AMEND CONDITIONS OF RELEASE
                                                    2
     RE SONIA KIM AND [PROPOSED] ORDER
